
PjiAiisox, C. J.
By its proper construction, the clause in the will of Mary Rhodes, .which has given rise, to this controversy, should read, “ I give and bequeath to all'the rest of the children of my niece, Mary Piekett, as well *69those sbe may hereafter hare, as those she now has, two slaves, Maria and Jim, to share equally."
This removes all. obscurity : and by-it, all of the children (except Mary Jane) as well males as females, and as well those born after the death of the testatrix as those born before, are entitled to a share, Shin vs. Motley, 3 Jones Eq., 491. Shull vs. Johnson, 2 Jones Eq., 202, are directly in point; and the question in regard to after born children, when there is an express intention to include them, although there bo no intervening estate, is frilly explained.
Decree accordingly. Costs to be paid out of the fund.
